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                                                                                                                             r    ~",


                                      UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA                                                               .• ! n
                                                                                                            1D! 5 r     .l                  "
                  UNITED STATES OF AMERICA                           JUDGMENT IN A CRIMINAL CASE
                                 V.                                  (For Offenses Committed On or After November I, 1987)
                       JOHN V AN TRINH (10)
                                                                        Case Number:         14CR0216 MMA
                                                                                                                       ,\1
                                                                     JEREMY WARREN
                                                                     Defendant's Attorney
REGISTRATION NO.                   41469298

THE DEFENDANT:
 1:81 pleaded guilty to count(s)       ONE AND EIGHTEEN OF THE SUPERSEDING INDICTMENT

 D  was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                       Nature of Offense                                                                  Numberls)
21 USC 841 (a)(l), 846                CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                               1

 18 USC 922(g)(l), 18                 FELON IN POSSESSION OF A FIREARM AND                                                   18
 USC 924(aX2)                         AMMUNITION



    The defendant is sentenced as provided in pages 2 through                   4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 D       The defendant has been found not guilty on count(s)

 I'V'I   C      t()    REMAINING CNT & UNDERL YINO             are         dismissed on the motion of the United States.
 16>1        oun s    INDICTMENT

 1:81    Assessment: $100.00 AS TO EACH COUNT ($200.00 TOTAL)



 1:81    No fine                 D Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                      HON. MICHAEL M. ANELLO
                                                                      UNITED STATES DISTRICT JUDGE


                                                                                                                       14CR0216 MMA
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 EIGHTY -FOUR (84) MONTHS AS TO EACH COUNT TO RUN CONCURRENT (DEFENDANT TO RECEIVE
 FEDERAL CUSTODY CREDIT AS OF 2/13/2014)




 o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 igJ    The court makes the following recommendations to the Bureau of Prisons:
        COURT RECOMMENDS PLACEMENT IN THE RESIDENTIAL DRUG ABUSE PROGRAM (RDAP).

        COURT ALSO RECOMMENDS PLACEMENT IN PHOENIX, ARIZONA, LOMPOC, CALIFORNIA, OR IN
        THE WESTERN REGION OF THE UNITED STATES.


 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o    at                             A.M.              on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        o    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o    on or before
        o    as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 ------------------- ---------------------------
                                                                         to

 at                                       , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                      14CR0216 MMA
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS AS TO EACH COUNT TO RUN CONCURRENT


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shaH not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as detennined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
tenn of supervision, unless otherwise ordered by court.
         The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
o        substance abuse. (Check, if applicable.)
I8J      The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
I8J
         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the tenn of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
       1) . the defendant shall not leave the judicial district without the pelTIlission ofthe court or probation officer;
       2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4) the defendant shall support his or her dependents and meet other family responsibilities;
       5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
       6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment:
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of a felony,
            unless granted pelTIlission to do so by the probation officer;
       10) the defendant shall pelTIlit a probation officer to visit him or her at any time at home or elsewhere and shall pelTIlit confiscation of any contraband
            observed in plain view of the probation officer;
       Jl) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an infolTIler or a special agent of a law enforcement agency without the pClTIlission of
            the court; and
       13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
             personal history or characteristics and shall pelTIlit the probation officer to make such notifications and to confilTIl the defendant's compliance
            with such notification requirement



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                              SPECIAL CONDITIONS OF SUPERVISION

     1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat
        patch testing and counseling, as directed by the probation officer. Allow for reciprocal
        release of information between the probation officer and the treatment provider. May be
        required to contribute to the costs of services rendered in an amount to be determined by
        the probation officer, based on ability to pay.

     2. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a
        period up to 120 days (non-punitive).

     3. Submit person, property, residence, office or vehicle to a search, conducted by a United
        States Probation Officer at a reasonable time and in a reasonable manner, based upon
        reasonable suspicion of contraband or evidence of a violation of a condition of release;
        failure to submit to a search may be grounds for revocation; the defendant shall warn any
        other residents that the premises may be subject to searches pursuant to this condition.

     4. Shall not associate with any member, prospect or associate of the (Oriental Killer Boys,
        Oriental Boy Soldiers or Asian Crips), or any other gang or club with a history or
        criminal activity, unless given permission by the probation officer.


     5. Shall not wear or possess any paraphernalia, insignia, clothing, photographs or any other
        materials associated with a gang, unless given permission by the probation officer.


     6. Shall not loiter, or be present in locations known to be areas where gang members
        congregate, unless given permission by the probation officer


II




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